          Case 1:21-cv-01323-SAG Document 10 Filed 05/28/21 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

ANNE ARUNDEL COUNTY, MARYLAND,

                          Plaintiff,
               v.
                                                          Civil Action No. 1:21-cv-01323-ELH
BP P.L.C., et al.,

                          Defendants.


                       ENTRY OF APPEARANCE IN A CIVIL CASE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

       Please enter my appearance as counsel in this case for Defendants Royal Dutch Shell plc

and Shell Oil Company.1 I certify that I am admitted to practice in this Court.

DATE: May 28, 2021                           Respectfully submitted,

                                       By:   /s/ James M. Webster, III
                                             James M. Webster, III (State Bar No. 23376)
                                             KELLOGG, HANSEN, TODD,
                                               FIGEL & FREDERICK, P.L.L.C.
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                                             Counsel for Defendants
                                             Royal Dutch Shell plc and Shell Oil Company




1
 Defendants Royal Dutch Shell plc and Shell Oil Company reserve all rights, including defenses
and objections as to venue, service, personal jurisdiction, etc.; the filing of this Entry of
Appearance is subject to, and without waiver of, any such defenses and objections.
          Case 1:21-cv-01323-SAG Document 10 Filed 05/28/21 Page 2 of 2



                                  CERTIFICATE OF SERVICE

       I hereby certify that, on May 28, 2021, the foregoing document was filed through the ECF

system and which caused a copy of the document to be served on all registered participants identified

on the Notice of Electronic Filing.

                                                      /s/ James M. Webster, III
                                                      James M. Webster, III

                                                      KELLOGG, HANSEN, TODD,
                                                       FIGEL & FREDERICK, P.L.L.C.

                                                      Counsel for Defendants
                                                      Royal Dutch Shell plc and Shell Oil Company
